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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION



  ISABEL RUBINAS, and IJR CORP.,
                                                             Case No. 1:21-cv-00096
                                   Plaintiffs,
                                                             Hon. Edmond E. Chang
             v.

  NICOLAS MADUROS, DIRECTOR,
  CALIFORNIA DEPARTMENT OF
  TAX & FEE ADMINISTRATION ,

                                  Defendant.


                                NOTICE OF APPEARANCE

     PLEASE TAKE NOTICE that Deputy Attorney General Michael Sapoznikow, a member

of the general bar of this Court, has been assigned to represent defendant Nicholas Maduros,

Director of the California Department of Tax & Fee Administration.

Dated: January 27, 2021                              Respectfully submitted,

                                                      XAVIER BECERRA
                                                      Attorney General of California
                                                      MOLLY K. MOSLEY
                                                      Supervising Deputy Attorney General



                                                      /s/ Michael Sapoznikow

                                                      MICHAEL SAPOZNIKOW
                                                      GINA TOMASELLI
                                                      Deputy Attorneys General
                                                      Attorneys for Defendant Nicolas Maduros,
                                                      Director, California Department of Tax and
                                                      Fee Administration
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                              CERTIFICATE OF SERVICE
Case Name:     ISABEL RUBINAS, and IJR                    No.    1:21-cv-00096
               CORP vs. NICOLAS
               MADUROS, DIRECTOR,
               CALIFORNIA
               DEPARTMENT OF TAX &
               FEE ADMINISTRATION

I hereby certify that on January 27, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
NOTICE OF APPEARANCE
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on January
27, 2021, at Sacramento, California.


               K. Vitalie                                          /s/ K. Vitalie
               Declarant                                             Signature

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